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MeGREGOR W. SCOTT

United Statea Attdrney

MICHELLE RODRIGUEZ
Aeeietant U.S. Atterney APR |T mms
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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

MAG NO. OQ”EQQ_HJM
MAG NO. UE~OT@-KJM

UNITED STATES OF AMERICA,

elaintiff,
GRDER
HEATHER LOUISE LOHMAN,

)

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V- )
)

§
Defendant. )
)

 

Petitien having been made te the Ceurt te unaeal the abnve~
enumerated Criminal Complainta and the Ceurt having cenaidered the
petition and finding good cause therefore;

IT IS HEREBY ORDERED that the Criminal Cemplainte enumerated
abeve, the Petition te Unaeal, and the Cgurt’e Order eealing the

Criminal Complaint be unaealed.

DATED: April g 2 ,2006 !,? ‘FJ /;

UN§§ED BTATES MAGISTRATE JUDGE

 

 

